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IN THE CIRCUIT COURT
FOR BALTIMORE COUNTY, MARYLAND

ALEIA DOWDY

on behalf of herself and on behalf of
All others similarly situated,

Plaintiffs,
v. Case No. 03-C-18-012841
SANTANDER CONSUMER USA INC.

Defendant.

 

 

SECOND AMENDED CLASS ACTION COMPLAINT

Plaintiff Aleia Dowdy (“Named Plaintiff or “Dowdy”), on her own behalf and on behalf
of all others similarly situated, through her attorneys, hereby submits this Second Amended Class
Action Complaint against Defendant Santander Consumer USA inc. (“SANTANDER”) and for
support states as follows:
I. PRELIMINARY STATEMENT

1. Dowdy institutes this class action against SANTANDER on her own behalf and on
behalf of all others similarly situated for violating statutory obligations and seeks to recover
statutory damages, pre-judgment and post-judgment interest and the costs of this action against
SANTANDER for multiple violations of Maryland’s Credit Grantor Closed End Credit
Provisions, MD, CODE ANN., COMM. LAW §§ 12-1001 et seg. (“*CLEC”).

2. SANTANDER charges and collects a fee to its CLEC Retail Installment Sale
Contracts ("RISC") customers for making a payment by phone through a live representative or

through an automated system and through the internet ("convenience fee").
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3. By charging and collecting its CLEC RISC customers convenience fees,
SANTANDER deprived its CLEC customers of valuable rights mandated by their CLEC RISC.

4. SANTANDER violated CLEC by charging and collecting convenience fees to its
CLEC RISC customers.

5. SANTANDER’s repeated charges for convenience fees makes this case
particularly suitable for resolution through a class action lawsuit.
IL JURISDICTION

6. This Court has jurisdiction over this case under MD. CODE ANN., CTS. & JUD. PROC.
§ 1-501.

7. This Court has personal jurisdiction over Defendant SANTANDER pursuant to
Mp. CoDE ANN., CTS. & JuD. Proc. § 6-103(1)}-(3), as SANTANDER systematically and
continually transacts business in Maryland, the case arises out of a transaction that took place
within Maryland, SANTANDER contracts to supply goods or services in Maryland, files lawsuits
in Maryland’s State Court System and takes liens on personal property located in Baltimore
County.
Ill PARTIES

8. Plaintiff Aleia Dowdy is a natural person currently residing at 1706 Holaview Road,
Apt. A-1, Dundalk, MD 21222. .

9. Defendant SANTANDER is an Illinois corporation doing business within this state
and with its principle place of business located at 565 Fifth Avenue, New York, NY 10017.
IV. FACTUAL ALLEGATIONS

10. Qnor about December 15, 2007, Dowdy purchased a 2003 Buick Rendezvous from

Koons Outlet,
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11. Dowdy obtained financing for the purchase of the 2003 Buick Rendezvous through
the dealership that sold the vehicle, Koons Outlet, which was memorialized in a RISC.

12. The RISC affirmatively elects to be governed under CLEC.

13, Dowdy purchased the 2003 Buick Rendezvous primarily for personal, family and
household purposes.

14. The RISC by which Dowdy financed the purchase was assigned to SANTANDER.

15. The total amount financed in the RISC was $13,668.00.

16. SANTANDER accepted the assignment of the RISC.

17. Throughout the life of the RISC, Dowdy made numerous payments to
SANTANDER.

18. SANTANDER collected more than the total amount financed on Dowdy’s RISC.

19. SANTANDER collected twenty-two thousand one hundred fourteen dollars and
fifty-two cents ($22,114.52) on Dowdy's RISC.

20. Throughout the life of the RISC, SANTANDER charged Dowdy multiple
convenience fees.

21. Throughout the life of the RISC, SANTANDER collected multiple convenience
fees from Dowdy.

22. SANTANDER collected interest, costs, fees, or other charges from Dowdy on her
CLEC RISC before charging and collecting any convenience fees from her.

23. SANTANDER collected interest, costs, fees, or other charges from Dowdy on her
CLEC RISC after charging and collecting convenience fees from her.

24. Dowdy defaulted under the terms of her RISC.
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25. After default, SANTANDER assigned the RISC to NCB Management, Inc.
(“NCB”).

26. Specifically, SANTANDER assigned “all rights, title and interest of [Santander] in
and to those certain receivables, judgments or evidences of debt described in the Financial Assets
Sale Agreement and Financial Asset Schedule . . . attached hereto and for ail purposes[.]”

27. As part of this assignment, SANTANDER stated that “[NCB] may be substituted
for [SANTANDER] as the valid owner of the Accounts and hereby waives any notice or hearing
requirements or otherwise.”

28, NCB filed a collection action on December 12, 2016 in the District Court of
Maryland for Baltimore City under Case Number 010100296012016 asserting that Dowdy
breached the RISC and that a $5,810.23 balance remained due and owing.

29. NCB represented in its Complaint that it was “Assignee Of SANTANDER{[.]”

30. Dowdy hired counsel and filed a Notice of Intent to Defend on August 9, 2017
asserting a complete defense to the collection action due to SANTANDER’s charging and
collecting “fees not allowed under MD. CODE ANN., COMM. LAW §§ 12-1001 ef seq.”

31. The parties appeared for a contested trial on October 2, 2017 in the District Court
of Maryland for Baltimore City where NCB submitted documentary evidence, a sworn affidavit
as evidence and testimony of a corporate representative of its entitlement to the alleged outstanding
deficiency balance under the RISC.

32. Dowdy also appeared at trial where she gave sworn testimony and was subject to
cross~examination by NCB.

33. Dowdy testified that she was charged and SANTANDER collected multiple

convenience fees from her.
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34. Counsel for Dowdy argued that SANTANDER violated CLEC when
SANTANDER charged and collected convenience fees from Dowdy.

35. The District Court of Maryland for Baltimore City entered judgment in favor of
NCB for the amount requested in addition to court costs.

36. Dowdy filed a Notice of Appeal.

37. Prior to the appeal hearing, Dowdy and NCB entered into a settlement agreement.

38. The settlement agreement between NCB and Dowdy contained a mutual release.

39, The mutual release in the settlkement agreement specifically excluded
SANTANDER from claims Dowdy could assert against SANTANDER.

40. Shortly thereafter, the District Court of Maryland for Baltimore City’s judgment in
favor of NCB was vacated.

41. Onthe same day, the District Court of Maryland for Baltimore City entered a new
judgment in favor of Dowdy dismissing NCB’s collection action with prejudice.

42. Subsequent to the filing of this action, SANTANDER “repurchased [Dowdy’s]
auto loan/retail installment contract (“auto finance contract”) from NCB Management Services,
Inc. on 02/13/2019.” In this regard, SANTANDER notified Dowdy that SANTANDER “again
owns this account and will continue to service your auto finance contract.”

V. CLASS ACTION ALLEGATIONS
43, Named Plaintiff brings this action on behalf of a Class which consists of:

All persons who entered into a credit contract governed by
CLEC and was charged a convenience fee by SANTANDER.

Excluded from the Class are those individuals: (a) who now are or have ever been executives of
the Defendant and the spouses, parents, siblings and children of all such individuals; (b) whose

credit accounts were discharged in a bankruptcy; (c) whose credit account resulted in a judgment
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prior September 22, 2017; or (d) whose credit accounts were satisfied prior to March 22, 2017.

44. The Class, as defined above, is identifiable. The Named Plaintiff is a member of
the Class.

45. The Class consists, at a minimum, of fifty (50) members.

46. There are questions of law and fact which are not only common to the Class but
which predominate over any questions affecting only individual class members.

47. The common and predominating questions include, but are not limited to:

(a) Whether it is a violation of CLEC to charge a convenience fee in connection
with a CLEC RISC;

(b) Whether SANTANDER charged convenience fees to its CLEC RISC
customers;

(c) Whether it is a violation of CLEC to collect a convenience fee in connection
with a CLEC RISC;

(d) Whether SANTANDER collected convenience fees from its CLEC RISC
customers;

{e) Whether SANTANDER knowingly violated CLEC.

48, Claims of Named Plaintiff are typical of the claims of the respective members of
the Class and are based on and arise out of similar facts constituting the wrongful conduct of
SANTANDER.

49. Named Plaintiff will fairly and adequately protect the interests of the Class.

50. Named Plaintiff is committed to vigorously litigating this matter.

51. Further, Named Plaintiff has secured counsel experienced in handling consumer

class actions and complex consumer litigation.
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52. Neither Named Plaintiff nor her counsel have any interests which might cause her
not to vigorously pursue this claim.

53. | Common questions of law and fact enumerated above predominate over questions
affecting only individual members of the Class. MD. RULE 2-231(b)(3).

54. A class action is the superior method for fair and efficient adjudication of the
controversy. MD. RULE 2-231(b)(3).

$5. The likelihood that individual members of the Class will prosecute separate actions
is remote due to the time and expense necessary to conduct such litigation.

56. The likelihood that individual members of the Class will prosecute separate actions
is remote also because each individual claim involves a small amount.

57, Counsel for Named Plaintiff and the Class is experienced in class actions and
foresees little difficulty in the management of this case as a class action.
VI. CAUSE OF ACTION

COUNT ONE
(MARYLAND CREDIT GRANTOR CLOSED END CREDIT PROVISIONS)

58. Dowdy re-alleges and incorporates by reference the allegations set forth herein, and
further alleges:

59, CLEC restricts credit grantors from charging or collecting any fees, charges or
interest not specifically enumerated in CLEC.

60. In violation of CLEC, SANTANDER charged convenience fees to Named Plaintiff
and all Class members.

61. In violation of CLEC, SANTANDER collected convenience fees from Named
Plaintiff and ali Class members.

62. SANTANDER's CLEC violations were undertaken knowingly.
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PRAYER FOR RELIEF

WHEREFORE, Named Plaintiff respectfully prays that this Court:

A. assume jurisdiction of this case;
B. enter an order certifying the Class under MD. RULE 2-231(b)(3);
C. enter an order that SANTANDER pay to Named Plaintiff and the Class the statutory
penalties imposed by CLEC § 12-1018;'
D. enter an award of pre-judgment and post-judgment interest on all sums awarded to
Named Plaintiff and the Class; and
E. award such other relief as the court deems appropriate.
Respectfully submitted,
Z LAW, LLC
Dated: April 10, 2019 By: ‘sf | Cory L. Zajdel

 

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' Pursuant to MD. RULE 2-305, Dowdy states that her claim totals $25,339.56 ($8,446.52 x 3) in addition to
pre-judgment and post-judgment interest. The total damages Dowdy seeks to recover on behalf of the Class totals
more than $75,000.00.
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CERTIFICATE OF SERVICE
] HEREBY CERTIFY that pursuant to Maryland Rule 20-201(g), on this 10th day of

April, 2019, a copy of the foregoing was served through the MDEC system to:

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